Case 2:03-cr-20133-SH|\/| Document 5 Filed 08/24/05 Page 1 Of@lj Rag_e@) 233- ma_/

 

   

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UNI'I`ED STATES DISTRICT COURT
for 05 nut 214 ' H 3=|1»
WESTERN DISTRICT ()F TENNESSEE

THOMF§ lt GOULD
_ . t irs distant COURT

U.S.A. vs. Kurt Carlton Fleming Docket No. 2: I 7 \-.i` °f "

 

Petition on Probation and Supervised Release

C()MES NOW Michelle R.Sims , PROBATION OFFICER ()F THE COURT presenting an official
report upon the conduct and attitude of Kurt Carlton Fleming , Who Was placed on supervision by the
Honorab]e W. Allen Pepper, Jr. sitting in the Court at Oxford, Mississippi, on the 23rd day of Janugg,
2003 Who fixed the period of supervision at 5 years and imposed the general terms and conditions
theretofore adopted by the Court and also imposed Special Conditions and terms as follows:

 

l. The defendant shall pay restitution in the amount of $4,134. IO.
The defendant shall provide the Probation Office access to financial information

3. The defendant shall not incur new credit charges or open additional lines of credit
Without the approval of the Probation Officer unless the defendant is in compliance With the
installment payment schedule

* Transfer of Jurisdiction began on April l, 2003.

RESPECTFULL¥ PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
(lt' short insert here; if lengthy write on separate sheet and attach}

Kurt Carlton Fleming fits the criteria for early termination recommended by the Judicial Conference
Comrnittee on Cn`minal Lavv. He has made progressive strides toward achieving supervision objectives and
appears to pose no risk to public safety. Mr. Fleming has made a good faith effort to satisfy restitution
however, he has an outstanding restitution balance of $ l ,434. 1 0. The defendant signed a payment agreement
with the Financial Litigation Unit agreeing to continue payments in the amount of $100.00 per month.
Chadwick Lamar, Assistant United States Attorney (ND/MS) has no objections to early termination It is,
therefore, recommended that Kurt Carlton Fleming be discharged from supervision

PRAY]NG THAT THE COURT WILL ORDER the defendant be discharged from supervision with the
understanding that the U.S. Attomey’s Office Will be responsible for the continued collection of restitution

 

 

 

 

ORDER OF COURT Respectfully,
Considered and ordered this 2_'?__’&lay W(_)/( wm ‘ w
of A~L ‘*-" i’,Z(}"°~s' , and ordered filed Michelle R. Sims`_/ ‘/
and made a part of the ecords in the above U.S. Probation Officer
case.
tow w Place: Memphis, Tennessee
Umted States District Judge docket§heet m gata;&n¢guaust 22, 2005

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with Rule 55 and!or 32(b) FF\C:P on

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:03-CR-20133 vvas distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

Terrell L. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

